United States District Court
Northern District of California

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FILED
OCT 17 2019

SUSAN Y. SOON
CLERK, U.S. DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

San Francisco Division

RENEE MARIE LEPAGE, Case No. 17-cv-00600-LB

Plaintiff,

y VERDICT FORM

COUNTY OF NAPA, et al.,
Defendants.

Claim of Excessive Force (42 U.S.C. § 1983 and Fourth Amendment; California Battery)

1. Did defendant Timothy Reid use excessive force against plaintiff Renee LePage in
violation of the Fourth Amendment to the U.S. Constitution and California law (battery)?

Yes: No: X

Proceed to question 2.

Claim of Violation of Civil Rights (Cal. Civ. Code § 52.1, known as the Bane Act)

2. Did defendant Reid interfere with or attempt to interfere with the plaintiffs enjoyment of
her right to be free from unreasonable seizure in violation of the Bane Act?

Yes: No: ~

Proceed to question 3.

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Claim of Negligence

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3. Was defendant Reid negligent?

Yes: No: ~

Proceed to question 4.

Damages

4. Did you answer yes to at least one of the following questions: 1, 2, or 3?

Yes: No:

If your answer is no, you have reached a verdict, and you must stop here, and have the
presiding juror sign and date this form. If your answer is yes, then proceed to Question 5.

5. If you answered yes to question 1, 2, or 3, what amount of damages do you award to the
plaintiff?

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Proceed to question 6.

6. What amount of the damages in question 5, if any, is attributable to the amount billed for
or accepted for payment of medical services?

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Proceed to question 7.

7. If you answered yes to question 1, was defendant Reid’s conduct malicious, oppressive, or
committed in reckless disregard of the plaintiff's rights?

Yes: No:

If your answer is no, you have reached a verdict, and you must stop here, and have the
presiding juror sign and date this form. If your answer is yes, then proceed to Question 8.

8. If you answered yes to question 7, what amount of punitive damages do you award to the
plaintiff?

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Signed: Af (Gu (Presiding Juror)
Dated: | O/ i7/ 70!"

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